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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 ELEANOR and ROCCO CIOFOLETTI,
 and LARRY STOSPAL on behalf of
 themselves and all others similarly             Case No.: 18-cv-03025
 situated,
                                                 CONSOLIDATED SECOND
                      Plaintiffs,                AMENDED CLASS ACTION
                                                 COMPLAINT
               -vs-
                                                 Jury Trial Demanded
 SECURIAN FINANCIAL GROUP, INC.,
 MINNESOTA LIFE INSURANCE
 COMPANY, SECURIAN LIFE
 INSURANCE COMPANY, SHURWEST
 LLC and MINNESOTA MUTUAL
 COMPANIES, INC.,

                      Defendants.

       Eleanor Ciofoletti, Rocco Ciofoletti, and Larry Stospal (“Plaintiffs”), on behalf of

themselves and all others similarly situated, by their attorneys, Squitieri & Fearon, LLP,

Wexler Wallace LLP, and Gustafson Gluek PLLC, bring this Consolidated Second

Amended Class Action Complaint against Defendants Securian Financial Group, Inc.

(“SFG”), Minnesota Life Insurance Company (“MLIC”), Securian Life Insurance

Company (“SLIC”), and Minnesota Mutual Companies, Inc. (“MMCI”) (collectively, the

“Securian Defendants” or “Securian”), along with Shurwest LLC (“Shurwest”), based

upon investigation of counsel and Plaintiffs’ information and belief:
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                                    INTRODUCTION

       1.     This is an action to recover damages on behalf of Plaintiffs and members of

the proposed class, defined below (the “Class”), who purchased MLIC or SLIC indexed

universal life insurance policies (“IUL”) through the Securian Defendants’ nationwide

network of agents and brokers which included Defendant Shurwest and other financial

services firms and advisors, (the “Securian Financial Network”).

       2.     Defendants marketed and sold the life insurance policies in conjunction

with structured cash flow products (“FIP Products”) to be purchased by the insureds from

Future Income Payments, LLC (or its subsidiaries) (“FIP”). The FIP Products were

proposed as a premium financing device to class members by financial advisors who

were agents and/or brokers of Securian. Said brokers and agents were introduced to FIP

Products by employees of Shurwest at the time Shurwest was a Securian “Master Broker

General Agent” and “Broker” pursuant to written contracts.

       3.     State regulatory agencies investigated the FIP Products and determined

them to constitute illegal usurious loans as early as 2015.          Defendants, however,

continued to sell FIP Products in conjunction with Securian IUL products through 2018,

by which time over 20 states had determined that FIP products were unlawful loan

products. When FIP ceased operations as a result, Plaintiffs and the Class not only lost

their investments in FIP Products, but also lost or were at risk of losing the life insurance

policies purchased from the Defendants because, without the cash flows from the FIP

Products, they could no longer pay for them or had to pay from sources other than the FIP

products which were marketed and sold to them as premium finance investments.


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       4.     Plaintiffs bring this action as a class action on behalf of themselves and all

similarly affected purchasers of the Securian Defendants’ IUL policies who financed

their policy premiums through FIP Products, to recover the millions of dollars in

premiums paid to Defendants, plus monies lost by Class members in the FIP Products

illegal loan scheme.

                             JURISDICTION AND VENUE

       5.     This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1332(d)

and 28 U.S.C. 1367 because the sum or value of the claims in this case, exclusive of

interest and costs, exceeds $5,000,000 and Plaintiffs and members of the Class are

citizens of states different than the Defendants.

       6.     The claims arose in this District because the Securian Defendants are based

and conduct their operations here. Shurwest was the Securian Defendants’ agent and at

all times acted on behalf of the Securian Defendants. All Defendants acted to promote,

market and effectuate the sale of the Securian Defendants’ life insurance products. As

such, the unlawful conduct alleged herein originated in, and arose out of, this District.

Venue in the District of Minnesota is therefore proper pursuant to 28 U.S.C. § 1391(a)

and (b) and 18 U.S.C. 1965(a) and (b).

       7.     This Court has personal jurisdiction over Defendants as a result of acts of

Defendants occurring in this State in connection with Defendants offerings, solicitation,

sales, and issuance of insurance investment products from the State of Minnesota.




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                                        PARTIES

       8.     Plaintiffs Eleanor and Rocco Ciofoletti (“Ciofoletti”) are residents of the

state of South Carolina. In or about late 2016 the Ciofolettis’ purchased an Indexed

Universal Life Policy from a “broker” appointed by MLIC in the Securian Financial

Network. In conjunction with the sale of the policy the Ciofolettis' were solicited to

purchase the FIP Product as a premium finance vehicle (which was actually an illegal

loan) promoted, offered, and sold by Shurwest. Ciofoletti has accepted MLIC’s offer of

rescission but has not released any claims against any of the defendants’ herein.

       9.     Plaintiff Larry Stospal (“Stospal”) is a resident of the state of Texas. In or

about late 2016 Stospal purchased from a broker appointed by MLIC in the Securian

Financial Network an Indexed Universal Life Policy from MLIC. In conjunction with the

sale of the policy, Stospal was solicited to purchase the FIP product as a premium finance

vehicle (which was actually an illegal loan) promoted, offered, and sold by Shurwest.

Stospal has accepted MLIC’s offer of rescission but has not released any claims against

any of the defendants’ herein.

       10.    Defendant SFG is Delaware mutual holding company with its headquarters

in Saint Paul, Minnesota. SFG is the holding company of a group of affiliated companies

including Defendants MLIC, SLIC..

       11.    Defendant MLIC is a wholly owned subsidiary of SFG which is domiciled

in the state of Minnesota. MLIC issues life insurance and annuity products including the

policies and products described here. MLIC operates in 49 states of the United States not

including New York.


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       12.    Defendant SLIC is a wholly owned subsidiary of MLIC which is domiciled

in the state of Minnesota. SLIC issues life insurance and annuity products including the

policies and products described here. SLIC operates only in New York.

       13.    Defendant MMIC is headquartered in the state of Minnesota. MMCI is the

ultimate holding company parent of SFG, MLIC and SLIC.

       14.    Defendant Shurwest is an Arizona limited liability company. Shurwest was

at all relevant times a “Master Brokerage General Agent” and “Broker” pursuant to

contracts with MLIC and SLIC throughout the Class Period. In that capacity it engaged

in the activities described herein.

                           CLASS ACTION ALLEGATIONS

       15.    The action is brought and may properly be maintained as a class action

pursuant to Rules 23(a), 23(b)(2) or 23(b)(3) of the Federal Rules of Civil Procedure.

       16.    This suit is brought on behalf of a Class consisting of and defined as all

purchasers of the Defendants’ insurance policies whose premium payments were funded

in whole or in part by FIP Products from 2012 through the present.

       17.    Excluded from the Class are Defendants, any entity in which any Defendant

has a controlling interest, and the officers, directors, legal representatives, heirs,

successors, subsidiaries and/or assigns of any such individual or entity or the owners of

the constituents of the Securian Financial Network (defined at paragraph 32) involved in

the scheme.

       18.    The members of the Class are so numerous that joinder of all members

individually, in one action or otherwise, are impractical. Plaintiffs are informed and

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believe that there are at least hundreds of proposed Class members geographically

dispersed across the United States.

      19.    There are numerous questions of law and fact common to Plaintiffs and the

Class, including:

             a. whether Defendants breached their fiduciary duties owed

                    to Plaintiffs and class members by, inter alia, participating

                    (directly or through their agents and brokers) in the

                    promotion, distribution and sale of illegal FIP Products as

                    premium financing vehicles for MLIC and SLIC IUL

                    products;

             b. whether Shurwest is liable to Plaintiffs and the class for

                    promoting and offering and selling FIP products directly

                    and/or indirectly to Plaintiffs and the class;

             c. whether         Shurwest    and        the   Securian   Defendants

                    substantially assisted each other’s breach of fiduciary

                    duties owed to Plaintiffs and class members and thereby

                    aided and abetted fiduciary breaches;

             d. whether the Securian Defendants and Shurwest are liable

                    vicariously for the acts and/or omissions of their

                    respective brokers and agents;

             e. whether Defendants were unjustly enriched at the expense

                    of Plaintiffs and the Class;

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              f. whether Plaintiffs and the Class suffered monetary

                 damages as a result of the Defendants’ fiduciary breaches,

                 participation in FIP’s illegal loan scheme, and other

                 wrongful conduct; and

              g. the proper measure of damages.

       20.    Plaintiffs’ claims are typical of the claims of the members of the Class, and

they are members of the Class described herein.

       21.    Plaintiffs are willing and prepared to serve the proposed Class in a

representative capacity with all of the obligations and duties material thereto. Plaintiffs

will fairly and adequately protect the interests of the Class and have no interests adverse

to, or which conflict with, the interests of other members of the Class.

       22.    Plaintiffs’ interests are co-extensive with and not antagonistic to those of

the absent Class members. Plaintiffs will undertake to represent and protect the interests

of absent Class members.

       23.    Plaintiffs have engaged the services of counsel who are experienced in

complex class action litigation, will adequately prosecute this action, and will assert and

protect the rights of, and otherwise represent, Plaintiffs and absent Class members.

       24.    The questions of law and fact common to the Class, as summarized above,

predominate over any questions affecting only individual members, in satisfaction of

Rule 23(b)(3).

       25.    Plaintiffs know of no difficulty that will be encountered in the management

of this litigation that would preclude its maintenance as a class action. Compared to the

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hundreds of individual actions, the class action device presents far fewer management

difficulties, and provides the benefits of single adjudication, economy of scale, and

comprehensive supervision by a single court.

       26.    Defendants have acted or refused to act on grounds generally applicable to

the Class, thereby making appropriate final and injunctive relief with respect to the Class.

       27.    A class action is superior to other available methods for the adjudication of

this controversy. Individualized litigation increases the delay and expense to all parties

and the court system given the complex legal and factual issues of the case, and judicial

determination of the common legal and factual issues essential to this case would be more

far more fair, efficient, and economical as a class action maintained in this forum than in

piecemeal individual determinations.

                            SUBSTANTIVE ALLEGATIONS

       28.    Defendants are in the business of marketing, brokering, and/or selling

insurance policies of various types, including Indexed Universal Life (“IUL”) policies

indexed to stock market investments. The Securian Defendants are issuers of such

policies, while Shurwest markets, promotes, and sells policies to both consumers and

insurance professionals.

       29.    Indexed Universal Life insurance policies such as those which are the

subject of this action are complex financial instruments described by Annexus, a

Shurwest affiliate, at its website, as follows:

              What is IUL?




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              Indexed Universal Life Insurance is a form of permanent life
              insurance that provides a tax-free death benefit upon your
              death. It also offers tax-advantaged cash value growth you
              can access throughout your life. Your cash value earns
              interest based on the positive performance of an underlying
              stock market index like the S&P 500. Interest would be
              credited at the end of an index segment (or term), with
              common segments of a 1-year, 2-years or up to 5-years. If
              the index performance is negative during any segment, your
              cash value is protected from any negative market return.

       30.    Similarly, Securian describes IUL products as follows:

              Balancing risk and cash value growth

              Indexed universal life insurance offers cash value growth that
              is tied to the movement of an underlying index but does not
              participate in the market.

              Minimum and maximum interest crediting limits act as
              guardrails, which make indexed universal life less risky than
              variable universal life insurance, while potentially producing
              greater interest crediting than fixed universal life insurance.

       31.    Not surprisingly, in its website page the Securian Defendants invite,

encourage and facilitate insureds’ use of financial advisers in the purchase of IUL

policies as alleged in more detail hereinafter.

       A.     The Securian Defendants and the Securian Financial Network

       32.    At all times relevant, the Securian Defendants’ indexed life insurance

policies were sold through “advisors” in the Securian Financial Network, and others.

       33.

       34.    The Securian Defendants also state the “Securian Financial Network, the

marketing name for the sales and distribution arm of Securian Financial Group, Inc., its

subsidiaries and affiliates, is a nationwide network of financial services firms. Products


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and services are offered and sold only by appropriately licensed entities and financial

representatives.” They tout the Securian Financial Network as a “long-term resource to

provide expertise and create strategies to help you and your family achieve your financial

goals.” Its advisors “support your everyday moments and major milestones and approach

your finances from a holistic standpoint.” According to the Securian website, an advisor

in the Securian Financial Network:

             • listens to your goals, visions, dreams – and even your fears

             • analyzes financial resources and opportunities

             • devises a roadmap to help you reach your goals

      35.    The Securian Defendants’ website further represents:

             At Securian Financial, we equip our financial advisors with suitable
             choices to serve clients and their unique situations. Our advisors
             offer a range of life insurance, annuities and wealth management
             solutions to help you put family first.

                                       ***

             With access to a network of more than 1,100 registered financial
             advisors, building your secure tomorrow is just a click away.

      36.    The Securian Defendants, on their website, also boast: “[we] serve nearly

19 million customers through 5300 employees and representatives.”

      B.     Shurwest’s Role

      37.    Shurwest was a broker and “Master Brokerage General Agent” for both

MLIC and SLIC pursuant to contracts with each. Shurwest was, upon information and

belief a member of the Securian Financial Network. Shurwest marketed, promoted and

sold life insurance products and FIP Products to insureds and assisted and directed


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members of the Securian Financial Network in the marketing, promotion, and sale of life

insurance policies.

       38.    Shurwest also served as an Independent Marketing Organization (“IMO”).

As one court explained the function of IMOs:

              Insurance companies generally do not recruit independent
              insurance agents to sell their products. Instead, IMOs recruit
              independent insurance agents to sell [fixed index annuities]
              and other types of insurance products to the independent
              agents’ clients. An IMO serves as a third-party intermediary
              between the agents and the insurance companies, providing
              product education, marketing, and distribution services.
              Insurance companies generally compensate IMOs for their
              support services based on a percentage of agent sales volume.

Mkt. Synergy Group, Inc. v. United States Dep’t of Labor, 16-CV-4083-DDC-KGS, 2016

WL 6948061, at *3 (D. Kan. Nov. 28, 2016). Shurwest, in addition to its contractual

relationship with Securian, also served as an IMO between Securian and the brokers and

agents within the Securian Financial Network.

       39.    In its IMO role to agents and brokers, Shurwest promotes itself as follows:

              PROPRIETARY SOLUTIONS

              Shurwest gives you access to a complete array of insurance
              carriers offering the most advances . . . indexed universal life
              insurance strategies available today. By choosing us as your
              partner you also gain access to patented limited distribution
              solutions that set you apart from your competition.

              EDUCATION AND TRAINING

              ●       Webinars
              ●       Onsite visits to come to meet our team
              ●       Personal coaching
              ●       Peer to peer idea sharing



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http:/shurwest.com/advisor-services# proprietary solutions last accessed November 4,

2019 10:30 pm.

         40.   Under its agreements with SLIC and MLIC, Shurwest was authorized to

recommend to SLIC and MLIC “producers” who SLIC and/or MLIC should appoint to

be their agents. Shurwest was also authorized under broker and agent agreements to

“provide service” to “product owners” of SLIC and MLIC “products.” The services

Shurwest provided to “product owners” (i.e., the Plaintiffs and class members) included

premium finance products and services.               As the IMO recruited by the Securian

Defendants to be their agent, Shurwest provided education, marketing, and distribution

services to both agents and brokers in the Securian Financial Network (“Network

Agents”) and others. When insurance brokers and/or financial advisers who used

Shurwest’s services sold a Securian Defendant’s product, the Securian Defendants paid a

portion of the commissions to Shurwest pursuant to the agreements. Likewise, when

Shurwest employees sold FIP Products they received commissions from FIP.

         41.   Under the Master Brokerage General Agent (“MBGA”) Agreements with

MLIC and SLIC, Shurwest contracted to perform “the following activities” (in relevant

part):

               1.2 . . .

                           (a) Supervise, insofar as possible, Your Brokers to
                               ensure that they:

                                        ***




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                       4. Comply with all applicable insurance laws and
                          regulations governing the sales and servicing of
                          our products

                                 ***

                   (b) Review all applications before submitting them to
                       US . . . and submit only those applications that
                       have been properly completed. . .

                   4.11   Anti-Money/Laundering: You shall comply
                          and require your brokers to comply with our
                          anti-money laundering policy and if requested
                          You and Your Brokers shall assist in satisfying
                          Our obligations under our anti-money
                          laundering policy.

      42.    Shurwest also entered into Broker Sales Contracts with each of MLIC and

SLIC. The Broker Agreement provided in part:

             Section 3 ETHICAL STANDARDS

                                 ***

                   4.11   Anti-Money Laundering
                           You should comply with Our anti-money
                          lending policy and if requested, you shall assist
                          in satisfying our obligations under Our Anti-
                          money laundering policy.

      43.    Shurwest, at all times acted within the scope of the agent and broker

agreements referred to above with the actual or apparent authority of the Securian

Defendants, and its actions relative to the FIP Products described below were known or

should have been known to the Securian Defendants.

      C.     Securian Promotes The Use Of Their
             “Financial Advisors” To Advise Insureds With Respect To IUL




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       44.    Securian’s    website     page        entitled   “Universal   Life   Insurance”

(securian.com/products-services/life-insurance/universal-life-insurance.html(As of 10:24

a.m. cst.11/6/2019) acknowledges that its IUL products are complicated financial

instruments for which insureds will require the services of financial advisors, it states:

              Types of universal life insurance. What type is right for you?
              If you and your financial advisor determine universal life
              insurance is a good choice, Securian offers three variations to
              choose from – fixed, indexed and variable.

              The main difference between the products is the risk/return
              associated with their cash value growth potential. When
              choosing the ideal product for your needs, you and your
              advisor should consider your level of risk tolerance.

       45.    In its website page specifically referencing “Indexed universal life,”

Securian invites visitors to “Ask a professional” “A financial advisor can help you

analyze your needs and help you choose the insurance that’s rights for you.” The site

contains a “live” box labeled, “Find an advisor,” which when clicked directs a visitor to a

member of the Securian Financial Network in the visitors’ vicinity.

       D.     The FIP Illegal Loan Scheme

       46.    From 2012 through 2018, FIP engaged in an illegal loan scheme that

involved FIP’s “purchase” of a portion of a consumer’s future pension stream at a

“discount” in exchange for providing the consumer with a lump sum payment (“purchase

transaction”). The consumer was obligated to repay FIP through a series of monthly

payments. In the aggregate, that series of payments always exceeded the amount of the

lump sum received by the consumer. FIP represented to the consumer, among other

things, that (i) these lump-sum payments were not “loans,” (ii) there was no applicable


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interest rate, and (iii) the cost of the lump-sum advance was less than that of potential

alternative sources of funds, such as credit cards.

       47.    FIP Products were the income streams FIP acquired from consumers, which

FIP then sold to “investors” such as Plaintiffs and class members. FIP Products were

typically 60- or 120-month cash flow payments, at interest rates between 7% and 12%.

       48.    The purchase transactions in which FIP engaged were, in fact, illegal

usurious loans significantly more costly to consumers than alternative financial products

to which FIP drew comparisons. FIP misrepresented material aspects of the purchase

transactions and engaged in deceptive acts and practices as well as other violations of

federal consumer financial law, leading to its shutdown and placement in receivership.

       E.     Defendants’ Participation In The FIP Scheme Helps Life Policy Sales

       49.    FIP obtained “investors” in FIP Products through referrals from financial

advisors including Shurwest and its employees.         Bureau of Consumer Financial

Protection v. Future Income Payments, LLC et al. (C.D. Cal.), Case No. 8:18-cv-01654,

Complaint ¶ 45.

       50.    To offer MLIC and SLIC life insurance policies financed by FIP Products,

Network Agents signed broker agreements with MLIC or SLIC wherein Shurwest was

the Master Broker Agent. Among other things, those agreements required Network

Agents to remit policy applications and initial premiums to Shurwest, which in turn

forwarded them to the Securian Defendants. At all relevant times, Network Agents acted

within the scope their respective agency agreements with Shurwest and the Securian




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Defendants, with the actual or apparent authority of both Shurwest and the Securian

Defendants.

       51.    Under its own practices,and policies, Securian allowed only brokers under

contract to MLIC or SLIC to market and offer IUL products to insureds.

       52.    Using typical Securian marketing material, Shurwest marketed the FIP

Products to MLIC and SLIC brokers at conferences, webinars and face to face meetings

as a method for financing the premiums of life insurance policies issued by the Securian

Defendants. In its capacity as the Securian Defendants’ agent and/or broker, Shurwest

marketed FIP Products as one of many investment products available for Securian

brokers to sell to Plaintiffs and class members.

       53.    Shurwest employees introduced brokers/advisers, including Network

Agents, to the FIP Products during meetings at the Shurwest’s corporate headquarters

and/or conferences held nearby. At these events, Shurwest specifically pitched the FIP

Products to agents, brokers and Securian Defendants’ employees as a means of funding

life insurance policies issued by the Securian Defendants. The Shurwest employees

conducting these meetings and otherwise pitching FIP Products in conjunction with the

sale of the Securian Defendants’ life insurance policies, were at all times acting within

the scope of their employment with Shurwest, with the actual or apparent authority of

Shurwest, and their actions relative to the FIP Products were known or should have been

known to Shurwest.

       54.    Shurwest employees recommended and facilitated the use of the FIP

Products as premium financing vehicles as safe and reliable products that would provide


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a consistent stream of income that would fund the payment of the Securian Defendants’

life insurance policies.

       55.      One of the conferences sponsored by Shurwest took place in early March,

2017. At that conference, Shurwest marketed the use of FIP Products to fund the

purchase of MLIC and SLIC universal life insurance policies. “Special guest speakers”

at the conference included Wade Allen, Advanced Marketing Consultant, Securian

Financial Group, whose topic was noted as “Premium Finance”; and David McCoy,

Senior Life Product Research Specialist, Securian Financial Group.

       56.      At the meetings and conferences it sponsored, Shurwest promoted FIP

Products to SLIC and/or MLIC financial advisors and brokers who had been introduced

to Securian by Shurwest. These advisors and brokers then offered FIP products to

Plaintiffs and the Class as a vehicle to finance the premiums for life insurance policies

issued by the Securian Defendants. Network Agents were further directed by Shurwest to

arrange for Plaintiffs and members of the Class to pay a lump sum to FIP to obtain the

stream of structured cash flows it was offering, which – in turn – would be used to

purchase the life insurance policies.

       57.      Shurwest communicated with and directed Network Agents in effectuating

the transactions, and accepted and transferred to the Securian Defendants, Plaintiffs’ and

Class members’ premium payments for the insurance policies in connection with those

transactions.

       58.      Using the misinformation provided to them by the Securian Defendants

through Shurwest and acquiesced in by the Securian Defendants, the Network Agents


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sold FIP Products to Plaintiffs and the Class to finance the premiums for life insurance

policies issued by the Securian Defendants, and structured the sales so that the payment

stream from the FIP would be used to pay the Securian Defendants for the life insurance

policies.

       59.    According to published reports, approximately 370 financial advisors put

their clients in FIP Products and steered those clients to utilize the FIP monthly payments

to fund insurance products such as the Securian Defendants’ indexed life insurance

policies.

       60.    In or about April 2018, FIP ceased making payments to income stream

purchasers, i.e., Plaintiffs and Class members. As a result, Plaintiffs and the Class could

no longer fund the life insurance policies sold to them by Defendants. Consequently,

Plaintiffs and other Class members suffered the lapse of their policies, incurred surrender

charges and other penalties, and had paid for policies which never accumulated enough

value to provide the Plaintiffs and Class members with a source of retirement income, the

objective of the life insurance policy purchase. At the same time, Plaintiffs and Class

members lost whatever they had paid to FIP, which was supposed to – but did not -- yield

a steady stream of cash flows that would have funded the life insurance now lapsed.




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F.     Defendants Had Actual And Constructive Notice Of The FIP Scheme
       61.    Defendants had actual and constructive knowledge of the illegal FIP loan

scheme.

       62.    Indeed, Shurwest claimed it had vetted the FIP Products, and it was also

responsible for structuring the FIP Products and facilitating the use of the FIP Products

for the purchase of the Securian Defendants’ life insurance policies.

       63.    Furthermore, the Securian Defendants knew or should have known of FIP’s

illegal loan scheme by the presence of their high-ranking employees at Shurwest events

promoting the scheme as a means of funding life insurance premiums, as well as through

reports of actions by state regulatory agencies’ enforcement actions against FIP and its

convicted felon founder Scott Kohn. In addition, the Securian Defendants had a legal

obligation under the USA Patriot Act and/or the Bank Secrecy Act to be aware that the

Securian Financial Network was utilizing the FIP illegal loan scheme to finance the

purchase of life insurance policies issued by the Securian Defendants. Finally, the

Securian Defendants had ample opportunity and ability to bar its agents and brokers in

the Securian Financial Network from using the FIP illegal loan scheme to finance life

insurance policy purchases by Plaintiffs and Class members.

       64.    FIP has been the subject of state regulatory investigations since 2014, with

various states including New York, alleging that FIP’s business model of “buying

pensions” was an illegal scheme.

       65.    Numerous other state and local regulators and agencies also have ordered

FIP to cease its operations.     These agencies include the California Department of


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Business Oversight; the Los Angeles City Attorney’s Office; the Minnesota Attorney

General; the Colorado Attorney General; the Massachusetts Attorney General; the North

Carolina Attorney General; the Iowa Attorney General; the Virginia Attorney General;

the Oregon Attorney General; the Oregon Department of Consumer and Business

Services; the Illinois Attorney General; the Illinois Department of Financial and

Professional Regulation; the Maryland Attorney General; the Maryland Commissioner of

Financial Regulation; the Pennsylvania Department of Banking and Securities; the New

York State Department of Financial Services; and the State of Washington Department of

Financial Institutions.

       66.    In mid-2017, Minnesota Attorney General Lori Swanson filed a lawsuit

against FIP and a subsidiary alleging that FIP was making illegal loans disguised as

purchases of pensions which obligated the borrowers (“sellers” of pension rights) to

repay the loans, termed “purchases,” at effective rates of 240% and at average rates of

139% annually.

       67.    Securian also would have acquired knowledge of FIP illegal activities

through Securian’s procedures to ensure compliance with various federal anti-money

laundering rules and regulations. Insurers who issue “covered products” such as the

Securian Defendants are subject to compliance and reporting requirements of the USA

Patriot Act. The “covered products” include life insurance products with cash value or

investment features and/or non-group annuity contracts. Under these regulations, each

insurance company must develop and implement a risk-based anti-money laundering

(“AML”) policy reasonably designed to prevent the company from being used to

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facilitate money laundering “and other financial crimes associated with the insurance

company’s products.”

       68.    The scope and objective of these AML laws is not limited to money

laundering or terrorist financing only. In or about 2005, Director of Financial Crimes

Enforcement Network (“FinCEN”) William J. Fox announced:

       These rules represent key steps in ensuring that the Bank Secrecy Act is applied
       appropriately to these businesses and in protecting the insurance industry from
       potential abuse by those seeking to launder money or finance terrorism or other
       illicit activity.

       69.    Also, according to regulators, the insurer’s AML program must encompass

the activities of agents or brokers who sell “covered products” because “insurance agents

and` brokers are an integral part of the insurance industry due to their direct contact with

customers” and therefore the insurer’s AML “policies, procedures and internal controls”

must be designed “to integrate its agents and brokers into its anti-money laundering

program and to monitor their performance with its program.”

       70.    SLIC and MLIC agent and broker contracts with Shurwest required

Shurwest to comply with AML Laws and to assist MLIC and SLIC’s compliance

therewith.

       71.    In early 2012, FinCEN and the National Association of Insurance

Commissioners (“NAIC”) reached an agreement to incorporate the initial BSA/AML

examination within the regulatory examinations performed by the Department of

Insurance of each company’s domiciliary state. NAIC Financial Condition Examination

Handbook 2012, Section 1.c., pp. 98–101.



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       72.    The United States Treasury Department’s “bottom line” was explained in

its “Frequently Asked Questions,” Anti Money Laundering Program And Suspicious

Activity Reporting Requirements For Insurance Companies”:

              Under the Bank Secrecy Act, financial institutions are
              required to identify assess, and mitigate risk that their
              businesses will be abused by criminals.

       73.    Accordingly, Defendants MLIC and SLIC were legally mandated to

monitor their own activities as well as those of the Securian Financial Network to prevent

FIP’s and broker/agent’s promotion of financial crimes utilizing Defendants’ products.

       74.    Although Defendants had actual and constructive knowledge of the illegal

FIP loan scheme, the brokers who were involved in the sales process were assured by

Shurwest employees that FIP Products were appropriate for the insureds who were

purchasing ILU products. Securian’s presence at and participation in, webinars and

conferences wherein Securian representatives spoke about premium financing vehicles

and advantages where FIP products were being promoted conveyed Securian’s implied

grant of authority to Shurwest to promote FIP products as a premium financing vehicle

for IUL policies offered by MLIC and SLIC.

                                  CAUSES OF ACTION

                            FIRST CAUSE OF ACTION
             (Breach of Fiduciary Duty against the Securian Defendants)

       75.    Plaintiffs repeat and re-allege each allegation contained in the preceding

paragraphs as if fully set forth herein.




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       76.    Securian promotes itself and its Network as “financial advisors” which

offer financial advice to clients in connection with sale of MLIC and SLIC policies.

       77.    As a result of Securian Defendants’ promotions of financial advisory

services and Securian Defendants’ superior knowledge, skill and resources, the Securian

Defendants became fiduciaries to Plaintiffs and the Class.

       78.    Among the fiduciary duties owed to Plaintiffs and the Class were duties to

avoid conflicts of interests with Plaintiffs and Class members; resolve conflicts in favor

of Plaintiffs and Class members where conflicts arise; to always act in the best interest of

Plaintiffs and the Class; to make full fair and accurate disclosure of all facts material to

the relationship and transactions with Plaintiffs and members of the Class.

       79.    The Securian Defendants’ duties to Plaintiff and Class members were, and

are, non-delegable.

       80.    The Securian Defendants had a duty to Plaintiffs and members of the class

not to sell, or allow its agents to sell, to Plaintiffs and class members the illegal FIP loan

products.

       81.    Securian was required by law to have procedures in place to ensure

compliance with AML and BSA laws both for itself and to impose such procedures upon

its agents and brokers.

       82.    These regulatory imperatives which were placed upon Securian resulted in

Securian’s knowledge (if proper compliance procedures were implemented and followed)

regarding the illegal FIP Products that were being offered in conjunction with SLIC and

MLIC products and which were being used as premium financing vehicles.


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       83.    The Securian Defendants had actual or constructive knowledge of the

illegal FIP loan scheme and knew they were reaping consistent and unlawful profits from

the scheme at the expense of Plaintiffs and the Class.

       84.    The Securian Defendants’ acts and omissions constitute a breach of

fiduciary duties owed to Plaintiffs and members of the Class.

       85.    The Securian Defendants’ fiduciary breaches and participation in

Shurwest’s promotion and sale of FIP products was a proximate cause of the Plaintiffs

and Class members’ injuries.

       86.    As a direct and proximate result of the Securian Defendants’ activities,

Plaintiffs and the Class suffered loss and damages in an amount to be proven at trial.

                             SECOND CAUSE OF ACTION

                     (Breach of Fiduciary Duty (Against Shurwest))
       87.    Plaintiffs repeat and re-allege each allegation contained in the preceding

paragraphs as if fully set forth herein.

       88.    Shurwest recruited and solicited financial advisors to utilize Shurwest

services and its insurance broker and agent facilities with Securian and recommended

financial advisers to be appointed as Securian insurance agents pursuant to the Master

Brokerage General Agency Agreements between Shurwest and MLIC and SLIC.

       89.    Shurwest undertook to market to and educate Network Agents on how to

influence Plaintiffs and Class members regarding the purchase of FIP products as a

means of paying premiums for insurance issued by MLIC and SLIC.




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       90.    In so acting, Shurwest had and took advantage of the opportunity to

influence and thus assumed a fiduciary duty to Plaintiffs and the Class.

       91.    As Network Agents learned from Shurwest about and how to promote,

describe, and sell the FIP Products structured to finance Plaintiffs’ and Class members’

life insurance policies, Plaintiffs and Class members placed their trust and confidence in

Shurwest by virtue of, among other things, Shurwest’s superior knowledge.

       92.    Because Shurwest owed Plaintiffs and Class members a fiduciary duty,

either directly, or as the agent of Securian, Shurwest was required to observe the utmost

good faith toward Plaintiffs and Class members in all of its transactions in accordance

with fiduciary standards of care, skill, and judgment.

       93.    Shurwest knew, or had reason to know, that Plaintiffs and Class members

placed their trust and confidence in Shurwest to counsel and inform Plaintiffs with

respect to the FIP Products used to finance their life insurance policies.

       94.    Shurwest also knew that it had the opportunity to influence Plaintiffs and

the Class through its education of Network Agents.

       95.    Shurwest, through its officers, employees, and agents breached the

fiduciary duty it owed to Plaintiffs and Class members in numerous ways, including,

without limitation, failing to properly vet the FIP Products while claiming that it had

done so; failing to supervise its employees and/or agents regarding the sale of FIP

Products; failing to disclose material facts about the FIP Products to Plaintiffs, Class

members, Network Agents, and other broker/agents, including that the FIP Products were

part of an illegal loan scheme; failing to provide Plaintiffs and Class members with


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undivided loyalty; failing to disclose at relevant times that the FIP Products were

deteriorating as “investments” and could no longer sustain the premium payments on

Plaintiffs’ and Class members’ life insurance policies; continuing to structure, market,

and facilitate the sale of FIP Products to finance Plaintiffs and Class members’ life

insurance policies despite knowledge that the FIP Products were part of an illegal loan

scheme; and acting in bad faith, with negligence, gross negligence, willful misconduct,

and/or reckless disregard of its duties.

       96.    As a result of Shurwest’s breach of fiduciary duty, Class members lost

millions of dollars.

                              THIRD_CAUSE OF ACTION

         (Aiding And Abetting Breach Of Fiduciary Duty Against Shurwest)

       97.    Plaintiffs repeat and re-allege each allegation contained in the preceding

paragraphs as if set forth fully herein.

       98.    Plaintiffs bring this claim against Shurwest for aiding and abetting the

breaches of fiduciary duty committed by the Securian Defendants.

       99.    The Securian Defendants were in a fiduciary relationship with Plaintiffs

and the Class and were in a superior position over the Class which required Class

members to repose trust and confidence in the Network Agents who were operating on

the Securian Defendants’ behalf.

       100.   Shurwest knew that the Securian Defendants had fiduciary duties to Class

members and knowingly participated in the breach of those duties, rendering substantial

assistance and causing harm to Plaintiffs and the Class.


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       101.   Specifically, as the agent for the Securian Defendants, Shurwest educated

and marketed to the Network Agents the FIP Products as a legal and appropriate way for

clients of the agents and brokers to finance the purchase of the Securian Defendants’ life

insurance policies. The agents and brokers looked to Shurwest, an IMO, for product

education, marketing, and distribution services with regard to the Securian Defendants’

life insurance policies and the information provided by Shurwest aided and abetted

breaches of the Securian Defendants’ fiduciary duties by promoting the sale of illegal FIP

Products in conjunction with the Securian Defendants’ life insurance policies.

       102.   At all times, Shurwest was the agent for the Securian Defendants, and thus

Shurwest participated in, and provided substantial assistance to, the Securian Defendants’

breaches.

       103.   Shurwest’s assistance was a proximate cause of the breaches. Without

Shurwest’s assistance, Network Agents would not have even known to sell the FIP

Products in conjunction with the Securian Defendants’ life insurance policies, much less

promote them as a legitimate vehicle for financing premiums.

       104.   As a result of Shurwest’s aiding and abetting this breach of fiduciary duty,

Class members lost millions of dollars.

                             FOURTH CAUSE OF ACTION

        (Against The Securian Defendants And Shurwest Under The Doctrine
                      Of Respondent Superior Giving Rise To
                             Strict Vicarious Liability)

       105.   Plaintiffs repeat and re-allege each allegation contained in the preceding

paragraphs as if fully set forth herein.


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      106.   At all times relevant to this action a principal/agent relationship existed

between the Securian Defendants on the one hand, and Shurwest and the Network Agents

on the other hand.

      107.   The Securian Defendants are liable for any acts or omissions of its agents

Shurwest and the Network Agents with respect to the sale of FIP Products to finance the

premium payments for MLIC and SLIC policies purchased by Plaintiffs and Class

members.

      108.   Shurwest and the Network Agents owed fiduciary duties to Plaintiffs and

Class members in connection with the transactions at issue herein. Shurwest and the

Network Agents acted as financial advisors in connection with the use of FIP Products to

finance the premium payments for MLIC and SLIC policies purchased by Plaintiffs and

Class members.

      109.   Shurwest and all Network Agents had actual and/or apparent authority to

use FIP Products to fund the premium payments on SLIC and MLIC policies purchased

by Plaintiffs and Class members. The Network Agent’s inclusion in the Securian

Financial Network caused Plaintiffs and Class members to reasonably and objectively

believe that the Network Agents had the Securian Defendants’ authority to put Class

members into the FIP Products to finance the premium payments for the MLIC and SLIC

policies purchased by Class members.

      110.   The Securian Defendants are liable for the acts of Shurwest and

agents/brokers in the Securian Financial Network because such acts (i) inured to the

benefit of Defendants who sold more policies than they otherwise would have; (ii) were


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ratified by MLIC and SLIC; (iii) Defendants created the appearance that such acts were

authorized; (iv) such acts were within the actual and/or apparent authority of Shurwest

and the Network Agents; (v) it was only with Shurwest’s participating and the Network

Agent’s role in the Securian Financial Network that the Network Agents could sell the

FIP products to finance the insurance policies issued by MLIC and SLIC.

       111.     The acts or omissions of Shurwest and the agents/brokers in the Securian

Financial Network in connection with the loan scheme to finance premium payments to

MLIC and/or SLIC all occurred within the scope of the agreement between Defendants

(other than Shurwest) and Shurwest and the agents/brokers and/or was ratified by the

Securian Defendants, expressly or impliedly, through their consent or knowing

acquiescence.

       112.     Although Shurwest had actual and constructive knowledge of the illegal

FIP loan scheme, the Network Agents and other broker/agents lacked the information

known to Defendants and, in selling the FIP Products in conjunction with the Securian

Defendants’ life insurance Products, were the unwitting instrumentalities of Defendants.

       113.     Shurwest is vicariously liable for the fiduciary breaches of the Securian

brokers whom Shurwest had recommended to Securian be appointed as Securian agents.

       114.     As a result of the acts or omissions by the Shurwest and the Network

Agents, Plaintiffs and Class members have suffered loss and damage.

       115.     As a result of the foregoing, the Securian Defendants are jointly and

severally liable to Plaintiffs and the Class for damages to be proven at trial.

                              FIFTH CAUSE OF ACTION


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                      (Unjust Enrichment Against All Defendants)

       116.   Plaintiffs repeat and re-allege each allegation contained in the preceding

paragraphs as if fully set forth herein.

       117.   Defendants have unjustly benefitted through their illegal loan scheme by

obtaining monies from Plaintiffs and the Class which, but for Defendants’ deceit and

participation in the illegal scheme, they would not have obtained.

       118.   Defendants earned these benefits at the expense of Plaintiffs and the Class

members and cannot justly retain them.

       119.   Equity and good conscience require full restitution of the monies received

by Defendants, directly and indirectly, from Class members. This includes not only the

monies of the Class members, but also any profits made from its use of this money.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court enter judgement

against the Defendants, as follows:

       A.        Ordering compensation in an amount to be determined at trial, with

additional damages, for all general, special, incidental, and consequential damages

suffered by the Plaintiffs and the Class, as a result of the Defendants’ liability for

wrongful acts;

       B.        Order disgorgement of all monies received by Defendants as a result of

sales of policies in connection with the illegal loan scheme;

       C.        Awarding Plaintiffs and the Class their reasonable attorneys’ fees and



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costs, to the fullest extent allowed by law; and

       D.     Granting all such additional or further relief as this court deems just and

equitable under the circumstances.

                             DEMAND FOR JURY TRIAL

       Plaintiffs hereby demand a trial by jury on all issues so triable.

Dated: December 3, 2019                   s/Daniel J. Nordin
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